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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
HIMELDA MENDEZ,
                                                19-cv-11855 (JGK)
                     Plaintiff,
                                                ORDER
          - against -

GENESCO INC.,

                    Defendant.
────────────────────────────────────

JOHN G. KOELTL, District Judge:

     It having been reported to this Court that the parties have

settled this action, it is, on this 25th day of November, 2020,

hereby ordered that this matter be discontinued with prejudice but

without costs; provided, however, that within 30 days of the date

of this Order, counsel for the plaintiff may apply by letter for

restoration of the action to the calendar of the undersigned, in

which event the action will be restored.

     Any application to reopen must be filed within thirty (30)

days of this Order; any application to reopen filed thereafter may

be denied solely on that basis.     Further, if the parties wish for

the Court to retain jurisdiction for the purpose of enforcing any

settlement agreement, they must submit the settlement agreement to

the Court within the same thirty-day period to be so-ordered by

the Court. Unless the Court orders otherwise, the Court will not

retain jurisdiction to enforce a settlement agreement unless it is

made part of the public record.
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     All pending motions are dismissed as moot.          All conferences

are canceled. The Clerk of Court is directed to close this case.

SO ORDERED.

Dated:     New York, New York
           November 25, 2020

                                          ____/s/ John G. Koeltl________
                                                John G. Koeltl
                                          United States District Judge




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